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April 19, 2023


Via ECF


Honorable Brian M. Cogan
United States District Judge
U.S. District Court, Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re: Force, et al. v. Qatar Charity, et al., 20-cv-02578-BMC

Dear Judge Cogan:
       On behalf of the Plaintiffs in the above-captioned action, I submit this letter to notify the
Court of developments in the parallel Henkin, et al. v. Qatar Charity, Qatar National Bank and
Masraf al Rayan, 21-CV-5716 (AMD)(VMS) action.
        On March 31, 2023, Judge Donnelly denied the motions by Qatar Charity and Masraf Al
Rayan to dismiss the Henkin case, and granted the Henkin plaintiffs 120 days in which to conduct
limited jurisdictional discovery of those defendants via document requests and interrogatories.
Judge Donnelly appointed Magistrate Judge Scanlon to manage that discovery and to set a
schedule for additional dispositive briefing should Qatar Charity and Masraf Al Rayan wish to
renew their motions to dismiss at the conclusion of the discovery. Judge Donnelly’s March 31,
2023 decision granted Qatar National Bank’s motion to dismiss, without prejudice.
       On April 13, 2023, Plaintiffs served document requests and interrogatories on Qatar
Charity and Masraf al Rayan. Magistrate Judge Scanlon has ordered the parties to submit a joint
proposed discovery schedule by no later than May 10, 2023, and to appear at an in-person
conference before her at 9:30 a.m. on May 16, 2023.
                                                    Respectfully submitted,




                                                    James P. Bonner




CC:    All counsel of record (via ECF)
